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                         Exhibit 1
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     Lord
     Lord Macdonald of River
          Macdonald of River Glaven
                             Glaven QC
                                    QC

     (Ken
     (Ken Macdonald
          Macdonald QC)
                    QC)

                                                            Matrix
                                                            Matrix Chambers
                                                                    Chambers
                                                            Griffin
                                                            Griffin Building
                                                                    Building
                                                            Gray’s
                                                            Gray's Inn
                                                                    Inn
                                                            London
                                                            London
                                                            WC1R 5LN
                                                            WC1R5LN
                                                            Tel:
                                                            Tel: +44
                                                                 +44 (0)20
                                                                      (0)20 7404
                                                                            7404 3447
                                                                                 3447
                                                            kenmacdonald@matrixlaw.co.uk
                                                            kenmacdonald@matrixlaw    .co.uk
                                                            DOB 4 January 1953




     APPOINTMENTS
     APPOINTMENTS

     2015
     2015             Chair,
                      Chair, The
                             The Orwell
                                 Orwell Foundation
                                        Foundation

     2011
     2011             Warden, Wadham
                      Warden, Wadham College,
                                     College, Oxford
                                              Oxford

     2011
     2011             Council
                      Council Member,
                              Member, Institute
                                      Institute of
                                                of Contemporary Arts
                                                   Contemporary Arts

     2011
     2011             Chair,
                      Chair, Reprieve
                             Reprieve

     2010
     2010             Independent
                      Independent Overseer,
                                  Overseer, Government Review
                                                       Review of
                                                              of Counter-Terrorism and
                                                                 Counter-Terrorism and
                      Security
                      Security Powers
                               Powers

     2010
     2010             Member
                      Member of the House
                             of the House of
                                          of Lords
                                             Lords

     2010
     2010             Deputy
                      Deputy High
                             High Court judge
                                  Court judge

     2010
     2010             Member, Advisory Board
                      Member, Advisory Board of the Centre
                                             of the Centre for
                                                           for Criminology,
                                                               Criminology, University
                                                                            University of
                                                                                       of
                      Oxford
                      Oxford

     2009
     2009             Visiting
                      Visiting Professor
                               Professor of
                                         of Law,
                                            Law, London
                                                 London School
                                                        School of
                                                               of Economics
                                                                  Economics

     2007
     2007             Knight
                      Knight Bachelor,
                             Bachelor, for
                                       for services to the
                                           services to the law
                                                           law

     2004
     2004             Bencher
                      Bencher of the Inner
                              of the Inner Temple
                                           Temple

     2003
     2003             Director
                      Director of
                               of Public
                                  Public Prosecutions
                                         Prosecutions

     2001
     2001             Recorder
                      Recorder of the Crown
                               of the Crown Court
                                            Court

     1997
     1997             Queen’s
                      Queen’s Counsel
                              Counsel




                                                                                               2
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     PROFESSIONAL
     PROFESSIONAL HISTORY
                  HISTORY

     2008
     2008 -– present
             present              Member:
                                  Member: Matrix
                                          Matrix Chambers
                                                 Chambers



         ••   Specialising
              Specialising in business and
                           in business and corporate
                                            corporate crime
                                                       crime and
                                                              and associated
                                                                  associated extraditions,
                                                                             extraditions, financial
                                                                                           financial regulatory
                                                                                                     regulatory
              work, corruption,
              work, corruption, export
                                export control  violations, terrorism,
                                        control violations, terrorism, and human rights
                                                                       and human   rights law.
                                                                                          law. Clients
                                                                                               Clients include
                                                                                                       include
              overseas governments, international
              overseas governments,                 media organisations,
                                      international media                  banks, prominent
                                                            organisations, banks, prominent British
                                                                                              British and
                                                                                                      and
              foreign
              foreign corporations,
                      corporations, and  many private
                                    and many   private individuals.
                                                        individuals.

         ••   Writes regularly
              Writes regularly for
                               for The
                                   The Times
                                        Times on
                                              on law,
                                                  law, security
                                                        security and politics, and
                                                                 and politics,     has aa special
                                                                               and has    special interest
                                                                                                  interest in
                                                                                                           in
              emerging
              emerging international
                        international criminal
                                      criminal liabilities.
                                               liabilities.

         ••   Liberal
              Liberal Democrat peer, with
                      Democrat peer, with aa special
                                             special interest
                                                     interest in
                                                              in criminal justice, security
                                                                 criminal justice, security and
                                                                                            and rights.
                                                                                                rights.

         ••   Appointed by
              Appointed  by the
                            the government
                                government to
                                           to provide
                                               provide independent
                                                       independent oversight
                                                                     oversight of the Review
                                                                               of the Review of
                                                                                             of Counter
                                                                                                Counter –
              Terrorism
              Terrorism and
                        and Security
                             Security Powers,
                                      Powers, and to report
                                              and to        to Parliament.
                                                     report to Parliament.

         ••   Appointed by
              Appointed  by the
                             the European
                                  European Commission   to lead
                                             Commission to lead aa mission
                                                                   mission to
                                                                           to Turkey
                                                                              Turkey as part of
                                                                                     as part    the accession
                                                                                             of the accession
              process and
              process     to report
                      and to         to the
                              report to the Commission
                                             Commission on
                                                        on Turkey’s
                                                           Turkey’s adherence   to principles
                                                                      adherence to principles of
                                                                                              of freedom
                                                                                                 freedom of
                                                                                                          of
              expression
              expression and
                         and freedom
                               freedom of   the press.
                                         of the press.

         ••   Succeeded  the late
              Succeeded the  late Lord
                                  Lord Bingham
                                       Bingham of of Cornhill
                                                     Comhill as
                                                              as Chair
                                                                 Chair of
                                                                       of Reprieve, the international
                                                                          Reprieve, the international anti-
                                                                                                      anti­
              death penalty and
              death penalty      prisoners’ rights
                            and prisoners’  rights organisation.
                                                   organisation.

         ••   In the 2008
              In the 2008 inaugural
                           inaugural Times  Law 100,
                                      Times Law  100, listed
                                                      listed fourth  most influential
                                                             fourth most  influential lawyer
                                                                                      lawyer in  the United
                                                                                              in the United
              Kingdom,
              Kingdom, directly    behind the
                          directly behind the Senior
                                              Senior Law
                                                     Law Lord,   the Secretary
                                                           Lord, the Secretary of
                                                                                of State
                                                                                   State for
                                                                                         for Justice
                                                                                             Justice and the Lord
                                                                                                     and the Lord
              Chief
              Chief Justice.
                     Justice.



     2003
     2003 -- 2008
             2008                Director
                                 Director of
                                          of Public
                                             Public Prosecutions,
                                                    Prosecutions, Permanent
                                                                  Permanent Secretary
                                                                            Secretary and
                                                                                      and Head
                                                                                          Head of the
                                                                                               of the
                                 Crown
                                 Crown Prosecution
                                        Prosecution Service.
                                                    Service.


              Leadership and
              Leadership     and law
                                   law
         ••   Leading
              Leading and and directing
                                directing the the UK’s      principal prosecuting
                                                   UK’s principal       prosecuting authority
                                                                                       authority withwith aa staff
                                                                                                               staff of
                                                                                                                      of 9,500
                                                                                                                          9,500
              (including
              (including 3,000      practising lawyers)
                           3,000 practising     lawyers) andand accounting
                                                                 accounting to to Parliament
                                                                                  Parliament for
                                                                                               for its  performance
                                                                                                    its performance
         ••   Chairing   the CPS
              Chairing the    CPS Board
                                     Board and
                                             and all
                                                  all its major internal
                                                      its major   internal committees
                                                                           committees
         ••   Acting as
              Acting       Head of
                       as Head    of Profession
                                       Profession for
                                                    for all
                                                         all lawyers,
                                                             lawyers, setting
                                                                       setting all
                                                                                all UK   prosecution policy
                                                                                    UK prosecution       policy over
                                                                                                                 over aa period
                                                                                                                         period
              of
              of 55 years
                    years
         ••   Taking    personal responsibility
              Taking personal         responsibility for      the highest
                                                        for the    highest level
                                                                            level ofof charging
                                                                                        charging decisions
                                                                                                     decisions andand all   key
                                                                                                                        all key
              prosecution casework,
              prosecution    casework, including
                                           including inin all  major national
                                                           all major  national security
                                                                                security cases
                                                                                          cases
         ••   Leading
              Leading aa major
                           major reform      programme, including:
                                    reform programme,        including:
         ••   Establishing
              Establishing thethe Counter
                                    Counter Terrorism
                                               Terrorism Division,      the Organised
                                                            Division, the   Organised Crime
                                                                                         Crime Division
                                                                                                  Division and     the Special
                                                                                                              and the   Special
              Crime
              Crime Division,
                      Division, and      making them
                                   and making     them acknowledged        world leaders
                                                          acknowledged world       leaders in  their fields
                                                                                            in their  fields
         ••   Implementing
              Implementing the  the Statutory
                                      Statutory Charging       programme, transferring
                                                 Charging programme,         transferring the
                                                                                           the responsibility
                                                                                                responsibility forfor charging
                                                                                                                      charging
              offences   from   the  police  to prosecutors
              offences from the police to prosecutors
         ••   Implementing
              Implementing the   the NoNo Witness
                                            Witness NoNo Justice     programme and
                                                            Justice programme       and opening
                                                                                         opening 187       witness care
                                                                                                     187 witness           units
                                                                                                                     care units
              across
              across England
                      England and       Wales
                                  and Wales
         ••   Rolling
              Rolling out
                        out aa comprehensive
                               comprehensive electronic
                                                   electronic case    management system
                                                                case management      system on    time and
                                                                                              on time         within budget
                                                                                                         and within   budget
         ••   Developing
              Developing aa major
                               major in-house
                                        in-house advocacy       programme to
                                                   advocacy programme         to increase
                                                                                 increase opportunity
                                                                                           opportunity for for our
                                                                                                               our lawyers
                                                                                                                   lawyers




                                                                                                                                   3
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        ••   Developing
             Developing andand implementing
                               implementing anan equality
                                                  equality and
                                                           and diversity programme and
                                                               diversity programme     transforming the
                                                                                   and transforming the
             Service
             Service into
                     into aa Whitehall
                             Whitehall beacon
                                       beacon in the field
                                              in the field

             Policy
             Policy
        ••   Personally
             Personally advising     ministers, including
                           advising ministers,  including successive
                                                           successive Prime
                                                                        Prime Ministers,
                                                                                  Ministers, Home
                                                                                               Home Secretaries,
                                                                                                        Secretaries,
             Justice
             Justice Secretaries
                     Secretaries and   Attorneys General
                                  and Attorneys  General on
                                                         on all
                                                            all aspects
                                                                aspects of
                                                                         of security,  justice and
                                                                             security, justice  and rights policy
                                                                                                    rights policy
        ••   Briefing  the Cabinet
             Briefing the   Cabinet and
                                    and emergency   meetings of
                                         emergency meetings   of COBRA
                                                                 COBRA as   as required
                                                                               required
        ••   Examining
             Examining all    government proposals
                          all government   proposals on
                                                     on security,
                                                         security, rights
                                                                   rights and
                                                                           and criminal    justice and
                                                                                criminal justice   and developing
                                                                                                        developing
             appropriate
             appropriate and
                           and sustainable
                                sustainable responses
                                            responses and
                                                       and articulating  them to
                                                           articulating them     to government,
                                                                                    government, Parliament
                                                                                                   Parliament and
                                                                                                                and
             the public
             the public
        •    Giving
             Giving evidence
                      evidence toto Parliamentary
                                     Parliamentary Select
                                                    Select Committees
                                                           Committees as  as summoned,
                                                                              summoned, including       the Public
                                                                                             including the   Public
             Accounts Committee, the Home Affairs Select Committee,            the Constitutional
                                                                            e, the                   Affairs Select
                                                                                    Constitutional Affairs   Select
             Committee,
             Committee, thethe Justice
                               Justice Select
                                       Select Committee,  the Joint
                                              Committee, the  Joint Committee
                                                                     Committee on     Human Rights
                                                                                   on Human     Rights and  various
                                                                                                       and various
             Public
             Public Bill
                     Bill Scrutiny
                          Scrutiny Committees
                                    Committees


             Diplomacy and
             Diplomacy        representation
                         and representation
        ••   Maintaining   good and
             Maintaining good    and constructive     working relations
                                      constructive working                with other
                                                                relations with         government departments,
                                                                                other government    departments,
             sometimes
             sometimes in   the face
                         in the  face of
                                       of difficult  policy differences,
                                          difficult policy   differences, and
                                                                           and representing   the Service
                                                                               representing the   Service across
                                                                                                           across
             Whitehall
             Whitehall
        ••   Liaising
             Liaising closely  with counterparts
                      closely with   counterparts in   the police,
                                                    in the police, security
                                                                    security and
                                                                             and intelligence
                                                                                  intelligence agencies
                                                                                               agencies at  home
                                                                                                         at home
             and
             and abroad
                 abroad
        ••   Establishing
             Establishing and   maintaining fruitful
                           and maintaining   fruitful cooperation    with overseas
                                                       cooperation with             jurisdictions and
                                                                          overseas jurisdictions       personally
                                                                                                  and personally
             conducting  the most
             conducting the  most sensitive
                                    sensitive discussions
                                              discussions and    negotiations with
                                                            and negotiations  with foreign
                                                                                     foreign agencies, ministries
                                                                                             agencies, ministries
             and governments, including
             and governments,              with senior
                                including with           ministers and
                                                 senior ministers       with heads
                                                                   and with  heads of  government
                                                                                    of government

             Finance
             Finance
        ••   Bearing
             Bearing direct
                      direct and   personal responsibility
                              and personal                  to Parliament
                                             responsibility to  Parliament for
                                                                            for an
                                                                                 an annual  budget currently
                                                                                    annual budget  currently
             standing
             standing at
                      at £740  million and
                         £740 million      keeping the
                                       and keeping  the Service within that
                                                        Service within that budget
                                                                            budget
        ••   Negotiating regular
             Negotiating   regular Comprehensive
                                    Comprehensive Spending
                                                      Spending Review
                                                                 Review settlements     with HM
                                                                           settlements with   HM Treasury,
                                                                                                   Treasury,
             providing reassurance
             providing reassurance onon expenditure
                                        expenditure and
                                                     and securing periodic exceptional
                                                         securing periodic exceptional increases
                                                                                       increases


             Media
             Media
        ••   Acting as
             Acting     the independent
                     as the              public face
                            independent public   face of  the prosecuting
                                                      of the  prosecuting authority
                                                                           authority
        ••   Devising
             Devising and
                        and leading
                             leading an
                                     an entirely  new media
                                        entirely new   media engagement
                                                                engagement strategy,
                                                                             strategy, including
                                                                                        including conceiving
                                                                                                   conceiving and
                                                                                                               and
             implementing
             implementing aa widely
                                widely praised
                                        praised protocol
                                                  protocol with
                                                            with media
                                                                   media organisations
                                                                          organisations to to ease  the release
                                                                                              ease the  release of
                                                                                                                of
             prosecution material
             prosecution  material
        ••   Establishing
             Establishing close   working relationships
                            close working                   with editors
                                            relationships with    editors and
                                                                          and other   key media
                                                                               other key    media figures,  giving
                                                                                                   figures, giving
             frequent press interviews
             frequent press  interviews and
                                        and appearing
                                             appearing regularly
                                                         regularly on
                                                                   on radio
                                                                       radio and  television
                                                                             and television


             Independence
             Independence
        ••   Guaranteeing
             Guaranteeing atat all times the
                               all times the independence
                                             independence of the Service,
                                                          of the Service, and maintaining the
                                                                          and maintaining the integrity
                                                                                              integrity and
                                                                                                        and
             fairness
             fairness of prosecution decision-making
                      of prosecution  decision-making across
                                                      across England
                                                             England and  Wales
                                                                      and Wales

        ____________________________________________________________________________

     2005
     2005 -– 2008
             2008         Member:
                          Member: Permanent
                                  Permanent Secretaries’
                                            Secretaries Management
                                                         Management Group
                                                                    Group

        ••   The
             The successor   body to
                  successor body     to the
                                        the Civil
                                             Civil Service
                                                   Service Management
                                                            Management BoardBoard and     the key
                                                                                     and the   key grouping
                                                                                                    grouping in
                                                                                                              in
             Whitehall. Acts
             Whitehall. Acts as
                             as aa form
                                   form of
                                         of ‘main board’ for
                                            ‘main board’     the UK
                                                         for the UK civil
                                                                      civil service.
                                                                            service. Sets
                                                                                      Sets standards
                                                                                           standards of
                                                                                                     of conduct,
                                                                                                        conduct,
             assesses broad performance
             assesses broad performance and
                                          and devises
                                               devises UK  wide strategy.
                                                       UK wide   strategy.




                                                                                                                       4
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     2003
     2003 -– 2008
             2008           Permanent
                            Permanent Member:
                                      Member: Sentencing
                                              Sentencing Guidelines
                                                         Guidelines Council
                                                                    Council

         ••   The
              The statutory   body chaired
                   statutory body             by the
                                     chaired by   the Lord
                                                       Lord Chief
                                                             Chief Justice
                                                                   Justice and
                                                                            and composed
                                                                                composed ofof senior judges,
                                                                                              senior judges,
              academics
              academics and     practitioners. Charged
                          and practitioners.             with consulting
                                               Charged with                widely and
                                                               consulting widely       producing sentencing
                                                                                   and producing  sentencing
              guidelines for
              guidelines for all
                             all criminal
                                 criminal courts up to
                                          courts up to and
                                                       and including the Court
                                                           including the Court of Appeal Criminal
                                                                               of Appeal Criminal Division.
                                                                                                  Division.


     2003
     2003 -– 2008
             2008            Permanent
                             Permanent Member:
                                       Member: Criminal
                                               Criminal Procedure
                                                        Procedure Rule
                                                                  Rule Committee
                                                                       Committee

         ••   The
              The statutory  body chaired
                   statutory body          by the
                                   chaired by the President
                                                  President of  the Queen’s
                                                             of the Queen’s Bench
                                                                               Bench Division
                                                                                     Division and
                                                                                              and composed
                                                                                                  composed of of
              senior judges, policy
              senior judges,  policy experts
                                     experts and practitioners. Sets
                                             and practitioners. Sets all
                                                                     all rules
                                                                         rules of procedure and
                                                                               of procedure     practice for
                                                                                            and practice     the
                                                                                                         for the
              Crown
              Crown Court
                      Court and  magistrates’ courts.
                             and magistrates’ courts.


     2003
     2003 -– 2008
             2008           Permanent
                            Permanent Member:
                                      Member: National
                                              National Criminal
                                                       Criminal Justice
                                                                Justice Board
                                                                        Board

         ••   The
              The interdepartmental    body sponsored
                   interdepartmental body    sponsored byby the
                                                             the Ministry
                                                                 Ministry of
                                                                          of Justice, the Home
                                                                             Justice, the  Home Office
                                                                                                  Office and   the
                                                                                                          and the
              Attorney General’s
              Attorney  General’s Office
                                   Office and
                                           and chaired  by the
                                                chaired by  the Home
                                                                Home Secretary.
                                                                       Secretary. Composed
                                                                                  Composed of  of senior
                                                                                                  senior officials
                                                                                                         officials
              and
              and sets national priorities
                  sets national priorities and
                                           and direction
                                               direction in
                                                         in consultation with judges,
                                                            consultation with judges, police
                                                                                       police and  prosecutors.
                                                                                              and prosecutors.



     2003
     2003 -– 2005
             2005            Member:
                             Member: Civil
                                     Civil Service
                                           Service Management
                                                   Management Board
                                                              Board

         ••   The main board
              The main board for   the UK
                              for the   UK civil
                                           civil service.
                                                 service. Superseded by the
                                                          Superseded by the Permanent
                                                                            Permanent Secretaries
                                                                                      Secretaries
              Management
              Management Group
                         Group in
                               in 2005.
                                  2005.

     _________________________________________________________________________________


     2003
     2003                     Elected
                              Elected Chairman
                                      Chairman of the Criminal
                                               of the Criminal Bar Association
                                                               Bar Association

     2001
     2001 -– 2003
             2003              Director
                               Director of
                                        of Education
                                           Education for the Criminal
                                                     for the Criminal Bar Association
                                                                      Bar Association

     2000
     2000 -- 2003
             2003              Member:
                               Member: General
                                       General Management
                                               Management Committee
                                                          Committee of the Bar
                                                                    of the Bar

     2000
     2000                     Elected to the
                              Elected to the Bar
                                             Bar Council
                                                 Council


     __________________________________________________________________________________


     2000 – 2003
     2000 - 2003               Founder
                               Founder member:
                                       member: Matrix
                                               Matrix Chambers
                                                      Chambers

         ••   Working with
              Working    with the
                              the founding     group to
                                   founding group     to set up aa modem,
                                                         set up     modern, forward
                                                                              forward looking
                                                                                        looking set
                                                                                                  set of
                                                                                                       of chambers
                                                                                                          chambers in  in
              anticipation
              anticipation of  the complex
                           of the  complex challenges
                                              challenges facing   the law
                                                          facing the  law in  the new
                                                                           in the new century.
                                                                                        century. It  brought together
                                                                                                  It brought  together
              public
              public law
                      law and  human rights
                          and human     rights expertise with media
                                               expertise with  media law,
                                                                       law, EU
                                                                             EU and
                                                                                 and competition
                                                                                      competition lawlaw and
                                                                                                          and aa strong
                                                                                                                 strong
              due  process strand.
              due process  strand. Criminal
                                    Criminal law,
                                               law, in particular, was
                                                    in particular, was to
                                                                        to be
                                                                           be seen
                                                                               seen in this broader
                                                                                    in this broader context   with the
                                                                                                      context with   the
              passage
              passage of    the Human
                        of the   Human Rights       Act. A
                                           Rights Act.    A highly
                                                              highly professional
                                                                       professional administration
                                                                                      administration and     the first
                                                                                                        and the     first
              organised
              organised in-house
                         in-house research
                                    research department
                                              department ofof any
                                                              any chambers,     were particular
                                                                   chambers, were     particular features
                                                                                                 features of
                                                                                                           of our  new
                                                                                                              our new
              approach.
              approach.

         ••   Within five
              Within      years, Matrix
                     five years,        was named
                                 Matrix was named ‘Chambers
                                                  ‘Chambers of the Year’
                                                            of the Year’ in the annual
                                                                         in the annual Lawyer Awards.
                                                                                       Lawyer Awards.




                                                                                                                            5
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        ••   My    practice consisted
              My practice   consisted ofof exceptionally  heavy criminal
                                           exceptionally heavy    criminal defence
                                                                           defence and
                                                                                     and financial
                                                                                          financial regulatory    work.
                                                                                                     regulatory work.
             II routinely
                routinely represented   the main
                          represented the   main defendants
                                                   defendants in  the key
                                                               in the key terrorist
                                                                          terrorist trials
                                                                                    trials of  the period.
                                                                                            of the period. II continued
                                                                                                              continued
             to develop
             to           my specialisms
                 develop my    specialisms inin international
                                                international offences, war crimes
                                                              offences, war  crimes and
                                                                                      and crimes
                                                                                            crimes against    humanity.
                                                                                                    against humanity.
             II also
                also defended
                     defended in   major city
                                in major  city frauds
                                               frauds and
                                                      and developed
                                                           developed aa very
                                                                        very substantial    practice advising
                                                                              substantial practice   advising leading
                                                                                                                leading
             corporations
                     ations and   their boards
                            and their   boards on
                                                on emerging
                                                    emerging criminal
                                                              criminal liability
                                                                        liability issues,
                                                                                  issues, including   those involving
                                                                                           including those    involving
             international
              international sanctions
                             sanctions legislation
                                        legislation

        ••   It was without
             It was without precedent
                             precedent when,
                                       when, as
                                             as aa leading
                                                   leading defence
                                                           defence lawyer,
                                                                   lawyer, II was
                                                                              was appointed
                                                                                  appointed Director
                                                                                            Director of
                                                                                                     of
             Public
             Public Prosecutions
                    Prosecutions in
                                 in 2003.
                                    2003.


     1978
     1978 -– 2000
             2000            Member:
                             Member: Garden
                                     Garden Court
                                            Court Chambers
                                                  Chambers

        ••   Developing
             Developing aa substantial
                             substantial criminal
                                         criminal defence
                                                   defence and
                                                            and regulatory    practice as
                                                                  regulatory practice   as aa junior.
                                                                                              junior. Achieving
                                                                                                       Achieving
             specialisations
             specialisations in  white-collar crime,
                             in white-collar  crime, export
                                                     export licence
                                                             licence control,
                                                                     control, international
                                                                               international criminal
                                                                                              criminal offences,
                                                                                                        offences,
             war crimes,
             war  crimes, crimes
                           crimes against   humanity, genocide
                                   against humanity,   genocide and    terrorism. Becoming
                                                                  and terrorism.                particularly well
                                                                                   Becoming particularly      well
             known for
             known   for cases
                         cases involving
                               involving complex
                                         complex scientific
                                                  scientific evidence
                                                             evidence and
                                                                        and difficult
                                                                            difficult expert witness issues.
                                                                                      expert witness  issues.

        ••   A member
             A member of the Committee
                      of the Committee of the Criminal
                                       of the Criminal Bar Association from
                                                       Bar Association from 1997
                                                                            1997

        ••   Taking
             Taking Silk
                    Silk in
                         in 1997
                            1997 and
                                 and swiftly
                                     swiftly developing
                                             developing aa leading practice
                                                           leading practice



     1978
     1978                    First
                             First pupil to Helena
                                   pupil to Helena Kennedy
                                                   Kennedy QC
                                                           QC



     EDUCATION
     EDUCATION

     1978
     1978                     Called to the
                              Called to the Bar
                                            Bar by the Inner
                                                by the Inner Temple
                                                             Temple


     1976-1978
     1976-1978                 Inns
                               Inns of
                                     of Court
                                        Court School
                                               School of
                                                      of Law
                                                         Law
                               Bar
                               Bar finals
                                   finals Part
                                          Par 1 and Part 2


     1971-1974
     1971-1974                St
                              St Edmund
                                 Edmund Hall,
                                          Hall, Oxford
                                                 Oxford
                              BA
                              BA (Hons)
                                  (Hons) Politics
                                         Politics Philosophy
                                                  Philosophy and
                                                             and Economics
                                                                 Economics


     1968-1970
     1968-1970                Bishops  Wordsworth’s Grammar
                              Bishops Wordsworth’s  Grammar School,
                                                            School, Salisbury
                                                                    Salisbury
                              A levels
                              A levels




                                                                                                                          6
